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1     BOIES SCHILLER FLEXNER LLP                    SUSMAN GODFREY L.L.P.
      David Boies (admitted pro hac vice)           Bill Carmody (admitted pro hac vice)
2     333 Main Street                               Shawn J. Rabin (admitted pro hac vice)
      Armonk, NY 10504                              Steven M. Shepard (admitted pro hac vice)
3
      Tel: (914) 749-8200                           Alexander Frawley (admitted pro hac vice)
4     dboies@bsfllp.com                             1301 Avenue of the Americas, 32nd Floor
                                                    New York, NY 10019
      Mark C. Mao, CA Bar No. 236165
5                                                   Tel.: (212) 336-8330
      Beko Reblitz-Richardson, CA Bar No. 238027
                                                    bcarmody@susmangodfrey.com
6     Erika Nyborg-Burch, CA Bar No. 342125
                                                    srabin@susmangodfrey.com
      44 Montgomery St., 41st Floor
7                                                   sshepard@susmangodfrey.com
      San Francisco, CA 94104
                                                    afrawley@susmangodfrey.com
      Tel.: (415) 293-6800
8     mmao@bsfllp.com                               Amanda K. Bonn, CA Bar No. 270891
9     brichardson@bsfllp.com                        1900 Avenue of the Stars, Suite 1400
      enyborg-burch@bsfllp.com                      Los Angeles, CA 90067
10                                                  Tel.: (310) 789-3100
      James Lee (admitted pro hac vice)
                                                    abonn@susmangodfrey.com
11    Rossana Baeza (admitted pro hac vice)
      100 SE 2nd St., 28th Floor                    MORGAN & MORGAN
12    Miami, FL 33131                               John A. Yanchunis (admitted pro hac vice)
      Tel.: (305) 539-8400                          Ryan J. McGee (admitted pro hac vice)
13    jlee@bsfllp.com                               201 N. Franklin Street, 7th Floor
      rbaeza@bsfllp.com                             Tampa, FL 33602
14                                                  Tel.: (813) 223-5505
      Alison L. Anderson, CA Bar No. 275334
15                                                  jyanchunis@forthepeople.com
      725 S Figueroa St., 31st Floor
                                                    rmcgee@forthepeople.com
      Los Angeles, CA 90017
16
      Tel.: (213) 995-5720                          Michael F. Ram, CA Bar No. 104805
17    alanderson@bsfllp.com                         711 Van Ness Ave, Suite 500
                                                    San Francisco, CA 94102
18                                                  Tel: (415) 358-6913
                                                    mram@forthepeople.com
19
                                     UNITED STATES DISTRICT COURT
20                                 NORTHERN DISTRICT OF CALIFORNIA
21
      CHASOM BROWN, WILLIAM BYATT,                  Case No.: 4:20-cv-03664-YGR-SVK
22    JEREMY DAVIS, CHRISTOPHER
      CASTILLO, and MONIQUE TRUJILLO                PLAINTIFFS’ ADMINISTRATIVE
23    individually and on behalf of all similarly
      situated,                                     MOTION TO CONSIDER WHETHER
                                                    GOOGLE’S MATERIAL SHOULD BE
24                                                  SEALED
                         Plaintiffs,
25
      vs.                                           CIVIL L.R. 79-5
26
      GOOGLE LLC,
27
                         Defendant.
28
                                                    PLAINTIFFS’ ADMINISTRATIVE MOTION RE: SEALING
                                                                    Case No. 4:20-cv-03664-YGR-SVK
     11706850v1/103088
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1           Pursuant to Civil Local Rule 79-5, Plaintiffs respectfully ask the Court to consider whether
2    Google LLC’s (“Google”) material should be sealed.
3     Document or Portion of Document             Party Claiming       Basis for Sealing
      Sought to Be Sealed                         Confidentiality
4     Portions highlighted in yellow of           Google               Contains Material Designated
      Plaintiffs’ Motion to Exclude Certain                            “Confidential” and/or “Highly
5
      Google Employee Witnesses                                        Confidential” by Google
6                                                                      pursuant to the Protective
                                                                       Order
7     Entirety of Exhibit 1 to the Frawley        Google               Contains Material Designated
      Declaration ISO Plaintiffs’ Motion to                            “Confidential” and/or “Highly
8     Exclude Certain Google Employee                                  Confidential” by Google
9     Witnesses                                                        pursuant to the Protective
                                                                       Order
10    Entirety of Exhibit 4 to the Frawley        Google               Material Designated
      Declaration ISO Plaintiffs’ Motion to                            “Confidential” and/or “Highly
11    Exclude Certain Google Employee                                  Confidential” by Google
      Witnesses                                                        pursuant to the Protective
12                                                                     Order
13    Entirety of Exhibit 6 to the Frawley        Google               Material Designated
      Declaration ISO Plaintiffs’ Motion to                            “Confidential” and/or “Highly
14    Exclude Certain Google Employee                                  Confidential” by Google
      Witnesses                                                        pursuant to the Protective
15                                                                     Order
      Entirety of Exhibit 7 to the Frawley        Google               Material Designated
16
      Declaration ISO Plaintiffs’ Motion to                            “Confidential” and/or “Highly
17    Exclude Certain Google Employee                                  Confidential” by Google
      Witnesses                                                        pursuant to the Protective
18                                                                     Order
      Entirety of Exhibit 9 to the Frawley        Google               Contains Material Designated
19    Declaration ISO Plaintiffs’ Motion to                            “Confidential” and/or “Highly
20    Exclude Certain Google Employee                                  Confidential” by Google
      Witnesses                                                        pursuant to the Protective
21                                                                     Order
      Entirety of Exhibit 10 to the Frawley       Google               Contains Material Designated
22    Declaration ISO Plaintiffs’ Motion to                            “Confidential” and/or “Highly
      Exclude Certain Google Employee                                  Confidential” by Google
23    Witnesses                                                        pursuant to the Protective
24                                                                     Order
      Entirety of Exhibit 12 to the Frawley       Google               Contains Material Designated
25    Declaration ISO Plaintiffs’ Motion to                            “Confidential” and/or “Highly
      Exclude Certain Google Employee                                  Confidential” by Google
26    Witnesses                                                        pursuant to the Protective
                                                                       Order
27

28                                                   1
                                                         PLAINTIFFS’ ADMINISTRATIVE MOTION RE: SEALING
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      Entirety of Exhibit 13 to the Frawley         Google               Contains Material Designated
1
      Declaration ISO Plaintiffs’ Motion to                              “Confidential” and/or “Highly
2     Exclude Certain Google Employee                                    Confidential” by Google
      Witnesses                                                          pursuant to the Protective
3                                                                        Order
      Entirety of Exhibit 14 to the Frawley         Google               Contains Material Designated
4     Declaration ISO Plaintiffs’ Motion to                              “Confidential” and/or “Highly
5     Exclude Certain Google Employee                                    Confidential” by Google
      Witnesses                                                          pursuant to the Protective
6                                                                        Order

7           Under Civil Local Rule 79-5(f), Google, as the designating party, bears the burden of

8    establishing that the designated material is sealable.

9    Dated: September 8, 2023                      Respectfully submitted,

10                                                 By: /s/ Mark Mao
11                                                 Mark C. Mao (CA Bar No. 236165)
                                                   mmao@bsfllp.com
12                                                 Beko Reblitz-Richardson (CA Bar No. 238027)
                                                   brichardson@bsfllp.com
13
                                                   Erika Nyborg-Burch (pro hac vice)
14                                                 Enyborg-burch@bsfllp.com
                                                   BOIES SCHILLER FLEXNER LLP
15                                                 44 Montgomery Street, 41st Floor
                                                   San Francisco, CA 94104
16                                                 Telephone: (415) 293 6858
                                                   Facsimile (415) 999 9695
17
                                                   James W. Lee (pro hac vice)
18                                                 jlee@bsfllp.com
                                                   Rossana Baeza (pro hac vice)
19                                                 rbaeza@bsfllp.com
20                                                 BOIES SCHILLER FLEXNER LLP
                                                   100 SE 2nd Street, Suite 2800
21                                                 Miami, FL 33130
                                                   Telephone: (305) 539-8400
22                                                 Facsimile: (305) 539-1304

23                                                 Bill Carmody (pro hac vice)
                                                   bcarmody@susmangodfrey.com
24                                                 Shawn J. Rabin (pro hac vice)
                                                   srabin@susmangodfrey.com
25                                                 Steven Shepard (pro hac vice)
                                                   sshepard@susmangodfrey.com
26                                                 Alexander P. Frawley (pro hac vice)
27                                                 afrawley@susmangodfrey.com
                                                   SUSMAN GODFREY L.L.P.
28                                                     2
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                                        1301 Avenue of the Americas, 32nd Floor
1
                                        New York, NY 10019
2                                       Telephone: (212) 336-8330

3                                       Amanda Bonn (CA Bar No. 270891)
                                        abonn@susmangodfrey.com
4                                       SUSMAN GODFREY L.L.P.
                                        1900 Avenue of the Stars, Suite 1400
5
                                        Los Angeles, CA 90067
6                                       Telephone: (310) 789-3100

7                                       John A. Yanchunis (pro hac vice)
                                        jyanchunis@forthepeople.com
8                                       Ryan J. McGee (pro hac vice)
9                                       rmcgee@forthepeople.com
                                        MORGAN & MORGAN, P.A.
10                                      201 N Franklin Street, 7th Floor
                                        Tampa, FL 33602
11                                      Telephone: (813) 223-5505
                                        Facsimile: (813) 222-4736
12

13                                      Michael F. Ram, CA Bar No. 104805
                                        MORGAN & MORGAN
14                                      711 Van Ness Ave, Suite 500
                                        San Francisco, CA 94102
15                                      Tel: (415) 358-6913
                                        mram@forthepeople.com
16

17                                      Attorneys for Plaintiffs

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                                               PLAINTIFFS’ ADMINISTRATIVE MOTION RE: SEALING
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